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                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                             Plaintiff,
11                                                                 CASE NO. CR06-296C
             v.
12                                                                 ORDER
      DALE ALEXANDER PRENTICE, et al.,
13
                             Defendants.
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            This matter comes before the Court on the Stipulation of the Government and eight of the thirteen
16
     Defendants in this matter to continue the trial and motions cutoff deadlines (Dkt. No. 95).
17
            The current motions cutoff deadline is October 12, 2006 and the current trial date is October 30,
18
     2006. The moving parties seek an motions cutoff deadline of November 2, 2006 and a trial date of
19
     December 4, 2006. Only ten of the thirteen Defendants have appeared in this matter to date and
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     discovery in this matter involves a large volume of recorded conversations and search warrants.
21
     Moreover, much discovery remains incomplete. Counsel have not had sufficient time to review discovery
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     for preparation of legal motions and for trial. A denial of the requested extensions would unreasonably
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     deny Defendants adequate preparation by their attorneys and would deny counsel reasonable time to
24
     prepare. Due to these factors, exclusion of additional time under 18 U.S.C. § 3161(h)(8)(B)(iv) is
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 1   appropriate, taking into account the exercise of due diligence.

 2           Eight of thirteen Defendants have joined in the instant motion, but only six of the movants have

 3   filed speedy trial waivers. Defendants Dale Alexander Prentice (Dkt. No. 97), Joseph Ualifi Taualii (Dkt.

 4   No. 96), Chris Lee Harmon (Dkt. No. 98), Ibrahim Abdul El (Dkt. No. 105), Hai Minh Duong (Dkt. No.

 5   99), and Visa El (Dkt. No. 111) have all waived speedy trial rights at least through the proposed trial

 6   date. The remaining Defendants have not waived speedy trial rights in association with the instant

 7   request for a continuance, but because there has been no severance of trial and the six codefendants

 8   named supra have waived speedy trial rights and presented sufficient grounds for a continuance

 9   according to 18 U.S.C. § 3161(h)(8)(B)(iv), the delay between the date of this Order and the new trial

10   date is excludable time pursuant to 18 U.S.C. § 3161(h)(7) as to Defendants Tam Phu Quy Nguyen, Hao

11   Quang Tran, Jia Ju Zeng, and Jason Scott Hunter.

12           Further, Defendants Michael Daryle Britton, Chi Hao Luong, and Ngoc Quang Dinh have not yet

13   appeared or entered pleas, and the current trial date is less than thirty days from the date of this Order.

14   Because these Defendants must waive a trial date that is set to occur less than thirty days from their

15   appearances or waivers of counsel, see 18 U.S.C. § 3161(c)(2), a continuance is proper as to these

16   Defendants as well.

17           The proposed continuance of the trial does not appear to prejudice any party. The Court finds

18   that failure to grant the requested continuance likely would result in a miscarriage of justice. The Court

19   further finds that the interests of the public and the Defendants in a speedy trial in this case are

20   outweighed by the ends of justice, within the meaning of 18 U.S.C. § 3161(h)(8)(A).

21           Accordingly, IT IS HEREBY ORDERED that the pre-trial motions cut-off date shall be extended

22   to November 2, 2006, with a new trial date of December 4, 2006. The time between the date of this

23   Order and the new trial date shall be excludable time under the Speedy Trial Act pursuant to 18 U.S.C.

24   §§ 3161(h)(8)(A) and 3161(h)(8)(B)(iv) as to Defendants Dale Alexander Prentice, Joseph Ualifi Taualii,

25   Chris Lee Harmon, Ibrahim Abdul El, Hai Minh Duong, and Visa El and, additionally, pursuant to id. §

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 1   3161(h)(7) as to Defendants Tam Phu Quy Nguyen, Hao Quang Tran, Jia Ju Zeng, and Jason Scott

 2   Hunter.

 3          SO ORDERED this 18th day of October, 2006



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 6                                                    John C. Coughenour

 7                                                    United States District Judge

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26   ORDER – 3
